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                                                  1   RONALD J. HOLLAND (SBN 148687)
                                                      rjholland@mwe.com
                                                  2   CHRISTOPHER A. BRAHAM (SBN 293367)
                                                      cbraham@mwe.com
                                                  3   BRIAN CASILLAS (SBN 303528)
                                                      bcasillas@mwe.com
                                                  4   MCDERMOTT WILL & EMERY LLP
                                                      415 Mission St Suite 5600
                                                  5   San Francisco, CA 94105-2533
                                                      Telephone: +1 628 218 3800
                                                  6   Facsimile: +1 628 877 0107
                                                  7   Attorneys for Defendant
                                                      DRAPER AND KRAMER MORTGAGE
                                                  8   CORP.
                                                  9

                                                 10
                                                                             UNITED STATES DISTRICT COURT
                                                 11
MCDERMOTT WILL & EMERY LLP




                                                                           CENTRAL DISTRICT OF CALIFORNIA
                                                 12
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                                                 13
                                                      JOSE VASQUEZ, individually and on         Case No. 2:21-cv-00693-FMO-AS
                                                 14   behalf of all those similarly situated,   Hon. Fernando M. Olguin
                                                 15                      Plaintiff,             DEFENDANT DRAPER AND
                                                                                                KRAMER MORTGAGE CORP.’S
                                                 16         v.                                  MEMORANDUM IN SUPPORT OF
                                                                                                MOTION FOR CONTEMPT
                                                 17   DRAPER AND KRAMER MORTGAGE                SANCTIONS AND
                                                      CORP.,                                    DISQUALIFICATION
                                                 18
                                                                         Defendant.             Date: July 28, 2022
                                                 19                                             Time: 10:00 a.m.
                                                                                                Courtroom: 6D
                                                 20
                                                                                                [Filed concurrently with (1) Notice of
                                                 21                                             Motion; (2) Declaration of Karla
                                                                                                Beinborn; (3) Declaration of Christopher
                                                 22                                             Braham; and (4) [Proposed] Order]
                                                 23                                             CLASS AND COLLECTIVE ACTION
                                                 24                                             Complaint filed: September 22, 2020
                                                                                                FAC filed: June 3, 2021
                                                 25

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                                                      DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION FOR CONTEMPT SANCTIONS AND
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                                                  1   I.    INTRODUCTION
                                                  2         Plaintiff Jose Vasquez’s (“Vasquez”) counsel has engaged in improper legal
                                                  3   solicitation directed at Defendant Draper & Kramer Mortgage Corp.’s (“DKMC”) loan
                                                  4   officers through targeted text messages to their personal telephone numbers, which
                                                  5   Vasquez obtained via discovery. DKMC has been informed that at least one loan
                                                  6   officer – whose contact information was produced by DKMC to Vasquez pursuant to
                                                  7   this Court’s Order – has received unwanted text message solicitations from Vasquez’s
                                                  8   counsel, Timothy Rumberger (“Mr. Rumberger”). In the solicitation, Mr. Rumberger
                                                  9   informs loan officers that (1) the typical base claim value for the FLSA collective
                                                 10   action is $36,000 for a loan officer making $180,000 in annual commissions working
                                                 11   50 hours in a typical week (noting that loan officers would make more if his/her
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                                                 12   commissions or hours are higher), (2) that there is “no cost nor risk to you” for opting-
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                                                 13   in to the FLSA collective action, and (3) directing loan officers to visit
                                                 14   DandKMortgageLawsuit.com or contact Tim@RumbergerLaw.com “by email or
                                                 15   phone for more information re YOUR Claim value to make an informed decision by
                                                 16   June 11, 2022.” Not only does the solicitation violate the California Rules of
                                                 17   Professional Conduct, the American Bar Association Model Rules, and the California
                                                 18   Business and Professions Code, it is also in direct contradiction of this Court’s Order
                                                 19   regarding notice of the collective action to loan officers. Such conduct should not be
                                                 20   condoned.
                                                 21         As a result, DKMC seeks this Court’s assistance to remedy the effects of the
                                                 22   improper text message solicitation, which have and will continue to have a substantial
                                                 23   detrimental effect on this litigation. The solicitation violates the rules of professional
                                                 24   conduct, is misleading and poses a serious threat to the integrity of the administration
                                                 25   of justice and fairness in this matter. Because Vasquez’s counsel ignored Rules of
                                                 26   Professional Conduct obligations and this Court’s Order, DKMC contends the most
                                                 27   effective way to remedy the damage would be to (1) hold Vasquez’s counsel in
                                                 28   contempt of Court, (2) dismiss any plaintiffs other than Vasquez, (3) enjoin Vasquez’s
                                                                                                  1
                                                       DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION FOR CONTEMPT SANCTIONS AND
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                                                  1   counsel from further unauthorized contact with putative class members; and (4) award
                                                  2   monetary sanctions against Vasquez’s counsel for a portion of the fees that DKMC has
                                                  3   incurred or will incur in bringing this Motion.
                                                  4   II.   RELEVANT PROCEDURAL AND FACTUAL BACKGROUND
                                                  5         A.     On March 29, 2022, The Court Approves Of A Specific Text
                                                  6                Message Notice That May Be Sent Once To DKMC’s Loan Officers
                                                  7         On March 17, 2022, the Court entered its Order Re: Preliminary Certification
                                                  8   (Dkt. 70). As part of its Order, the Court ordered that Vasquez submit for the Court’s
                                                  9   review and approval a Notice Via Cell Phone Text Message (the “Approved Text
                                                 10   Notice”). The Court also ordered that DKMC provide to Vasquez’s counsel a
                                                 11   computer-readable database that includes the names of all proposed collective
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                                                 12   members, along with each loan officer’s last known telephone numbers. Dkt. No. 70.
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                                                 13         On March 29, 2022, in its Order Re: Revised FLSA Notice [74] (Dkt. 76 (the
                                                 14   “Order”), the Court approved the revised Notice of Collective Action (Dkt. 74-1,
                                                 15   Rumberger Decl., Revised Exh. 8) and Approved Text Notice (Dkt. 74-2, Rumberger
                                                 16   Decl., Revised Exh. 9) submitted by Vasquez’s counsel. The Text Notice approved
                                                 17   by the Court states as follows:
                                                 18
                                                            NOTICE VIA CELL PHONE TEXT MESSAGE: If you worked as
                                                 19         a Loan Officer (aka Senior Loan Officers, Vice Presidents and Senior
                                                            Vice Presidents of Residential Lending) for Draper and Kramer
                                                 20
                                                            Mortgage Corp. in the United States anytime between [DATE 3 years
                                                 21         prior to the date of transmitting this Text Message], to May 1, 2021
                                                            you may be eligible to join a lawsuit for unpaid wages including
                                                 22
                                                            overtime. For info, contact Class Counsel Timothy P. Rumberger at
                                                 23         (510) 841-5500 or Kevin R. Allen at (925) 695-4913.”
                                                 24   The Court ordered that “within ten (10) business days of receiving the computer-
                                                 25   readable database from Defendant, plaintiff shall cause the Notice and Opt-In Consent
                                                 26   Form to be sent via…text message…to all loan officers who performed work within
                                                 27   three years prior to the date of the Notice who have not already filed Opt-In Consent
                                                 28   Forms on the docket.” Dkt. No. 76. The Court also noted that a duplicate copy of the
                                                                                                 2
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                                                  1   Approved Text Notice may be sent as a reminder thirty (30) days after the Notice Date
                                                  2   to loan officers who have not returned their opt-in consent form as of that date. Id.
                                                  3   The Court did not approve any other text notice as part of its March 29, 2022 Order.
                                                  4   Id.
                                                  5         B.     On June 5, 2022, DKMC Is Notified That Vasquez’s Counsel Sent
                                                  6                An Unapproved Text Message To DKMC’s Loan Officers
                                                  7         On June 5, 2022, DKMC was notified by one of its loan officers that he received
                                                  8   a text message (the “Unapproved Solicitation”) to his personal cell phone from
                                                  9   Vasquez’s counsel, Timothy Rumberger (“Mr. Rumberger”). Declaration of Karla
                                                 10   Beinborn [“Beinborn Decl.”], ¶ 6. The Unapproved Solicitation received by the loan
                                                 11   officer states as follows:
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                                                 12         This week is the final deadline for DKMC Loan Officers to Opt-IN to
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                                                 13         the FLSA collective action. The typical base claim value is $36,000 for
                                                            a loan officer making $180,000 in annual commissions working 50
                                                 14
                                                            hours in a typical week is for the 2-year claim period (more if your
                                                 15         commissions or hours were higher) — in addition to your claim for
                                                            EPO and appraisal fee reimbursement.
                                                 16

                                                 17         There is no cost nor risk to you. To be included, go to
                                                            DandKMortgageLawsuit.com or request a Notice & Opt-In Form by
                                                 18
                                                            email: Tim@RumbergerLaw.com or phone for more information re
                                                 19         YOUR claim value to make an informed decision by June 11, 2022.
                                                            Tim Rumberger, co-counsel for the DKMC Loan Officer nationwide
                                                 20
                                                            collective. Take care.
                                                 21

                                                 22   Beinborn Decl., ¶ 6, Exh. C – E-mail Containing the Unapproved Text Message from
                                                 23   Vasquez’s Counsel to Putative Class Members. DKMC was also notified that several
                                                 24   of its loan officers received the same Unapproved Solicitation from Mr. Rumberger.
                                                 25   Id, ¶ 7. Indeed, as embedded below, at least one putative class member felt that his
                                                 26   rights were violated as a result of receiving the Unapproved Solicitation:
                                                 27   ///
                                                 28   ///
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                                                 9   Id., ¶ 6, Exh. C.
                                                10            C.    Vasquez’s Counsel Never Seeks Approval Of The Unapproved
                                                11                  Solicitation Prior To Its Dissemination
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                                                12            Vasquez’s counsel never submitted the Unapproved Solicitation to the Court for
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                                                13   its approval. Further, DKMC was never notified of the Unapproved Solicitation prior
                                                14   to its dissemination (nor did Plaintiff’s counsel meet and confer with DKMC’s counsel
                                                15   prior to its dissemination). Id., ¶ 2.1
                                                16            D.    On June 6, 2022, DKMC Is Notified That Vasquez Left A Voicemail
                                                17                  To At Least One Loan Officer Claiming That The Loan Officer
                                                18                  May Be Entitled To A “Significant Dollar Amount With A Potential
                                                19                  Of Doubling”
                                                20            On June 6, 2022, a day after the Unapproved Solicitation was sent, DKMC was
                                                21   notified by one of its loan officers that he received a voicemail from Vasquez.
                                                22   Declaration of Christopher Braham [“Braham Decl.”], ¶ 3. In the voicemail, Vasquez
                                                23   states that he is “reaching out to all the California potential class members for my class
                                                24   action, which I’m sure you got notice posted somewhere predominately.” Id. Vasquez
                                                25   further states that the reason for contacting the loan officer is to “make sure that, or
                                                26
                                                     1
                                                      On June 13, 2022, Vasquez’s counsel filed the Notice of Filing of Consents To Join
                                                27   Collective Action (“Notice”). According to the Notice, approximately ten (10) of the
                                                     opt-in consent forms were either received or postmarked after the Unapproved
                                                28   Solicitation was sent. Dkt. No. 91.
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                                                 1   confirm rather, you received the notices, both of them, and the opt-in and also just
                                                 2   calling to see if you know what your claim would be.” Vasquez also states in his
                                                 3   voicemail that the loan officer can make “a pretty pretty significant dollar amount with
                                                 4   a potential of doubling” should the loan officer opt-in. Id.
                                                 5   III.   LEGAL ARGUMENT
                                                 6          A.    The Unapproved Solicitation Communication Violates The
                                                 7                California Rules Of Professional Conduct
                                                 8          Attorneys appearing before federal courts in California must “comply with the
                                                 9   standards of professional conduct required of the members of the State Bar of
                                                10   California.” Concat LP v. Unilever, PLC, 350 F.Supp. 2d 796, 914 (N.D. Cal. 2004)
                                                11   (citing Asyst Tech., Inc. v. Empak, Inc., 962 F. Supp. 1241, 1242 (N.D. Cal. 1997)); see
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                                                12   also C.D. Cal. Civ. L.R. 83-3.1.2 (“[i]n order to maintain the effective administration
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                                                13   of justice and the integrity of the Court, each attorney shall be familiar with and
                                                14   comply with the standards of professional conduct required of members of the State
                                                15   Bar of California and contained in the State Bar Act, the Rules of Professional
                                                16   Conduct of the State Bar of California, and the decisions of any court applicable
                                                17   thereto…any breach or violation thereof may be the basis for the imposition of
                                                18   discipline.” (Emphasis added). Accordingly, in this litigation and in this Court,
                                                19   Vasquez’s counsel are required to comply with the California Rules of Professional
                                                20   Conduct.
                                                21          While precertification communication with putative class members is generally
                                                22   permitted, the Court’s Rule 23(d) powers include the authority to enjoin
                                                23   communications with class members to protect them from undue interference. Gulf
                                                24   Oil Co. v. Bernard, 452 U.S. 89, 99-100 (1981); Howard Gunty Profit Sharing Plan v.
                                                25   Super. Ct., 88 Cal. App. 4th 572, 580 (2001) (“Precertification communication carries
                                                26   the potential for abuse.”) “When engaging in precertification communications, as is
                                                27   equally true with any communication, a member of the State Bar of California must
                                                28   comply with the requirements of the Rules of Professional Conduct.” Mevorah v.
                                                                                                5
                                                      DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION FOR CONTEMPT SANCTIONS AND
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                                                 1   Wells Fargo Home Mortg., Inc., a div. of Wells Fargo Bank (N.D. Cal., Nov. 17, 2005,
                                                 2   No. C 05-1175 MHP) 2005 WL 4813532, at *5; see also Parris v. Super. Ct., 109
                                                 3   Cal.App. 4th 285, n.6 (2003).
                                                 4            Rule 1-400 of the California Rules of Professional Conduct governs attorney
                                                 5   solicitation and advertising, and provides, in relevant part:
                                                 6            For purposes of this rule, a “solicitation” means any communication:
                                                 7                  (1) Concerning the availability for professional employment of a member
                                                 8                  or a law firm in which a significant motive is pecuniary gain; and
                                                 9                  (2) Which is:
                                                10                         (a) delivered in person or by telephone ...
                                                11   Cal. Rules of Prof. Conduct, Rule 1-400(B). Rule 1-400 further provides:
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                                                12            A solicitation shall not be made by or on behalf of a member or law
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                                                13            firm to a prospective client with whom the member or law firm has no
                                                              family or prior professional relationship, unless the solicitation is
                                                14
                                                              protected from abridgment by the Constitution of the United States or
                                                15            by the Constitution of the State of California. A solicitation to a former
                                                              or present client in the discharge of a member's or law firm's duties is
                                                16
                                                              not prohibited.
                                                17   Id. 1-400(C) (emphasis added).2 Rule 1-400 also provides that any allowed
                                                18   communication or solicitation shall not: (1) contain any untrue statement; or (2)
                                                19   contain any matter which is false, deceptive, or which tends to confuse, deceive, or
                                                20   mislead the public; or (3) omit to state any fact necessary to make the statement made
                                                21   not misleading to the public; or (4) fail to indicate clearly, expressly, or by context that
                                                22   it is a communication or solicitation; or (5) be transmitted in any manner which
                                                23   involves intrusion, coercion, duress, compulsion, intimidation, threats, or vexatious or
                                                24   harassing conduct. Id. 1-400(D).
                                                25

                                                26

                                                27   2
                                                       In addition, the California Business and Professions Code sets forth numerous
                                                     provisions that govern legal advertising and solicitations. See, e.g., Cal. Bus. & Prof.
                                                28   Code §§ 6157.1, 6157.2, 6158, 6158.1.
                                                                                                   6
                                                         DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION FOR CONTEMPT SANCTIONS AND
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                                                 1         Moreover, Rule 7.3 of the ABA Model Rules of Professional Conduct states as
                                                 2   follows:
                                                 3         (a) A lawyer shall not by in-person, live telephone or real-time electronic contact
                                                 4         solicit professional employment from a prospective client when a significant
                                                 5         motive for the lawyer's doing so is the lawyer's pecuniary gain, unless the person
                                                 6         contacted:
                                                 7                (1) is a lawyer;
                                                 8                (2) has a family, close personal, or prior professional relationship with the
                                                 9                lawyer; or
                                                10                (3) person who routinely uses for business purposes the type of legal
                                                11                services offered by the lawyer.
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                                                12   ABA Model Rules of Prof. Conduct, Rule 7.3.
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                                                13         Case law makes clear that telephonic solicitations of prospective clients by an
                                                14   attorney or on behalf of the attorney are prohibited. See, e.g., Kitsis v. State Bar, 23
                                                15   Cal.3d 857 (1979) (holding that a lawyer may not initiate face-to-face or telephone
                                                16   contact with a non-client, personally or through a representative, for the purpose of
                                                17   being retained to represent that person for a fee); Matter of Scapa & Brown, 2 Cal.
                                                18   State Bar Ct. Rptr. 635, 641-42 (Rev. Dept. 1993) (holding that attorneys, who staff a
                                                19   branch office exclusively with non-lawyers who illegally obtain police accident
                                                20   reports, solicit accident victims over the telephone and in person, and induce potential
                                                21   clients to sign statements that they were not solicited, have violated the rules against
                                                22   solicitation); Matter of Kroff, 3 Cal. State Bar Ct. Rptr. 838, 844 (Rev. Dept. 1998)
                                                23   (holding that solicitations by telephone are prohibited under Rule 1-400). It is also
                                                24   improper to transmit, or cause to be transmitted, a “text message advertisement” to a
                                                25   mobile phone, handset, pager or two-way messaging device, unless the sender has an
                                                26   existing relationship with the recipient and offers the recipient an option not to receive
                                                27   text messages from the sender. Cal. Bus. & Prof. Code § 17538.41(a)(1), (c), (d).
                                                28   ///
                                                                                                 7
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                                                 1         Here, there is no doubt that Vasquez’s counsel caused to be disseminated
                                                 2   telephonic text messages that amount to a “solicitation” under California Rule of
                                                 3   Professional Conduct 1-400 and ABA Model Rule of Professional Conduct 7.3.
                                                 4   Indeed, the Unapproved Solicitation violates at least three of the subdivisions
                                                 5   contained in Rule 1-400 and constitutes unethical conduct as follows:
                                                 6         First, the Unapproved Solicitation violates Rule 1-400 because it essentially
                                                 7   guarantees that loan officers receiving the message will receive money should they
                                                 8   opt-in (“the typical base claim value is $36,000 for a loan officer making $180,000”).
                                                 9   Notably, however, this Court has made no ruling or issued any order stating what the
                                                10   “base claim value” is, nor did the Court approve of such a communication in any of its
                                                11   previous Orders. In a putative collective action under the FLSA, like the instant case,
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                                                12   “there is no prohibition against pre-‘opt-in’ communication with a ... potential plaintiff,
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                                                13   unless the communication undermines or contradicts the Court's notice.” Parks v.
                                                14   Eastwood Ins. Servs., Inc., 235 F. Supp. 2d 1082, 1085 (C.D. Cal. 2002) (emphasis
                                                15   added). Vasquez’s counsel’s communication undermines and contradicts the Court’s
                                                16   notice by putting forth an assertion that is plainly false and unmistakably intended to
                                                17   mislead loan officers into joining the lawsuit, especially considering that this Court
                                                18   has stated that there has been no determination on the merits.
                                                19         Second, it is false to represent there is “no cost nor risk” for anyone to join the
                                                20   case. Anybody who joins the lawsuit takes the risk that they could be ordered to pay
                                                21   DKMC’s costs should they lose and they could be sanctioned should they not
                                                22   participate in discovery. See Swamy v. Title Source, Inc., 2017 WL 5196780, at *5
                                                23   (N.D. Cal. Nov. 10, 2017) (holding that representation to plaintiffs that they could be
                                                24   required to pay costs of suit was not misleading). Moreover, standard commission
                                                25   agreements (produced to Vasquez’s counsel prior to the dissemination of the
                                                26   Unapproved Solicitation) between DKMC and its loan officers contain a provision
                                                27   waiving loan officers’ procedural right to assert a collective action against DKMC.
                                                28   Beinborn Decl., ¶ 4. The commission agreements (as well as arbitration agreements
                                                                                                 8
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                                                 1   received by Vasquez’s counsel) also contain a provision permitting DKMC to recover
                                                 2   its attorneys’ fees to enforce the aforementioned waiver. Id. Accordingly, it is
                                                 3   misleading for Vasquez’s counsel to represent to individuals that there is “no cost nor
                                                 4   risk” to individuals joining the action as the loan officers would be in breach of their
                                                 5   commission agreement by joining. Indeed, loan officers who did join this Action in
                                                 6   violation of their covenant not to do so are at risk of having to pay for DKMC’s
                                                 7   attorneys’ fees associated with a motion to enforce the collective action waiver filed
                                                 8   concurrently herewith.
                                                 9         Third, Vasquez’s counsel committed an ethical violation when sending the
                                                10   Unapproved Solicitation because the communication fails to indicate clearly,
                                                11   expressly, or by context that it is an advertisement or solicitation.
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                                                12         Vasquez had no legitimate reason to send out the mass Unapproved Solicitation
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                                                13   to loan officers, apart from a naked attempt to create attorney-client relationships and
                                                14   drum up precertification interest in this lawsuit by misleadingly promising recovery of
                                                15   $36,000 per loan officer. Vasquez’s conduct constitutes an improper solicitation of
                                                16   for-profit legal business, which is prohibited by professional conduct rules because it
                                                17   is inherently conducive to overreaching and other forms of misconduct. The Court
                                                18   should not condone such conduct.
                                                19         B.     This Court Should Hold Vasquez’s Counsel In Contempt, Dismiss
                                                20                Any Plaintiffs Other Than Vasquez, And Disqualify Vasquez’s
                                                21                Counsel From Representing Their Putative Class Member Clients
                                                22         Federal courts have the power to impose sanctions against litigants and their
                                                23   attorneys. Under Rule 37 of the Federal Rules of Civil Procedure, if a party fails to
                                                24   obey an order regarding discovery, the Court may issue further just orders, including
                                                25   the following: (1) directing that the matters embraced in the order or other designated
                                                26   facts be taken as established for purposes of the action, as the prevailing party claims;
                                                27   (2) prohibiting the disobedient party from supporting or opposing designated claims
                                                28   or defenses or from introducing designated matters in evidence; (3) striking pleadings
                                                                                                 9
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                                                 1   in whole or in part; (4) staying further proceedings until the order is obeyed; (5)
                                                 2   dismissing the action or proceeding in whole or in part; (6) rendering a default
                                                 3   judgment against the disobedient party; or (7) treating as contempt of court the failure
                                                 4   to obey the order. Fed. R. Civ. P. 37(b)(2)(A); United States v. National Med. Enter.,
                                                 5   Inc., 792 F.2d 906, 910 (9th Cir. 1986) (upholding sanctions under Rule 37(b) for
                                                 6   violation of a protective order). Discovery misconduct can also be punished under the
                                                 7   court’s inherent powers to manage its affairs. See Uniguard Sec. Ins. Co. v. Lakewood
                                                 8   Eng. & Mfg. Corp., 982 F.2d 363, 368 (9th Cir. 1992); Evon v. Law Offices of Sidney
                                                 9   Mickell, 688 F.3d 1015, 1035 (9th Cir. 2012) (issuing sanctions under the court's
                                                10   inherent power for failing to comply with a court order by filing confidential
                                                11   documents without redaction); Scott v. Chuhak & Tecson, P.C., 725 F.3d 772, 779-80
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                                                12   (7th Cir. 2013) (holding that willful violation of any court order may be punishable as
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                                                13   contempt or be sanctioned under the court’s inherent power).
                                                14         Here, the Court already entered an Order regulating text message notice to loan
                                                15   officers, and Vasquez’s counsel chose to ignore those Orders. “Misleading
                                                16   communications by soliciting counsel have a detrimental effect on the class notice
                                                17   procedure and, therefore, on the fair administration of justice.” In re Cmty. Bank of N.
                                                18   Va. Loan Litig., 418 F.3d 277, 311 (3d Cir. 2005). It also appears that Vasquez acted
                                                19   as a representative of his counsel and was directed to contact loan officers as part of
                                                20   his June 6, 2022 voicemail, especially considering Vasquez used legalese not typically
                                                21   referenced by laypersons (including references to notice being posted “predominately”
                                                22   and potential recovery of “double” damages). Accordingly, as discussed below, the
                                                23   Court should issue an order (1) holding Vasquez’s counsel in contempt of Court, (2)
                                                24   dismissing any plaintiffs other than Vasquez, (3) disqualifying Vasquez’s counsel from
                                                25   representing putative class members, and (4) awarding monetary sanctions against
                                                26   Vasquez’s counsel for DKMC’s fees incurred in bringing this Motion.
                                                27   ///
                                                28   ///
                                                                                               10
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                                                 1                   1.   The Court Should Hold Vasquez’s Counsel in Contempt of Court
                                                 2         The Court has discretion to determine appropriate sanctions in civil contempt
                                                 3   proceedings. Sanctions are generally imposed to either coerce compliance or to
                                                 4   compensate the moving party for losses resulting from the violation:
                                                 5         Judicial sanctions in civil contempt proceedings may, in a proper case,
                                                           be employed for either or both of two purposes; to coerce the defendant
                                                 6
                                                           into compliance with the court's order, and to compensate the
                                                 7         complainant for losses sustained.
                                                 8   United States v. United Mine Workers of Am., 330 U.S. 258, 303-04 (1947)
                                                 9   (citing Gompers v. Buck's Stove & Range Co., 221 U.S. 418, 448-49 (1911)); see
                                                10   also E-Smart Tech., Inc. v. Drizin, 2011 WL 2020710, at *3 (N.D. Cal. 2011) (“There
                                                11   are essentially two types of sanctions that may be imposed upon a finding of civil
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                                                12   contempt: coercive sanctions to compel obedience to a court order or compensatory
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                                                13   sanctions to redress losses sustained by the adversary.”); Frankl v. HTH Corp., 832 F.
                                                14   Supp. 2d 1179 (D. Haw. 2011) (“‘A court has wide latitude in determining whether
                                                15   there has been contemptuous defiance of its order,’ and ‘retains discretion to establish
                                                16   appropriate sanctions.’ Sanctions for civil contempt may be imposed to coerce
                                                17   compliance with a court order and/or to compensate the injured party for losses
                                                18   sustained. ‘Unlike the punitive nature of criminal sanctions, civil sanctions are wholly
                                                19   remedial.”’).
                                                20         As a sanction for civil contempt, a court may order the payment of a fine,
                                                21   including the payment of attorneys’ fees. See, e.g., Int'l Union, United Mine Workers
                                                22   of Am. v. Bagwell, 512 U.S. 821, 829 (1994) (“Where a fine is not compensatory, it is
                                                23   civil only if the contemnor is afforded an opportunity to purge. Thus, a ‘flat,
                                                24   unconditional fine’ totaling even as little as $50 announced after a finding of contempt
                                                25   is criminal if the contemnor has no subsequent opportunity to reduce or avoid the fine
                                                26   through compliance.”); Koninklijke Philips Elec. N.V. v. KXD Tech., Inc., 539 F.3d
                                                27   1039, 1042-43 (9th Cir. 2008) (“The attorney's fees, lost royalties, and storage costs
                                                28   were assessed in order to compensate the plaintiff for losses sustained. Furthermore,
                                                                                               11
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                                                 1   the per diem fine was not to be assessed until fourteen days after the entry of the order,
                                                 2   and the defendants could avoid the fine by complying with the terms of the injunction.
                                                 3   Because the per diem fine allowed the defendants the opportunity to purge the
                                                 4   contempt before payment became due, it was a civil sanction.”); Fleischmann
                                                 5   Distilling Corp. v. Maier Brewing Co., 386 U.S. 714, 718 (1967) (“And in a civil
                                                 6   contempt action occasioned by willful disobedience of a court order an award of
                                                 7   attorney's fees may be authorized as part of the fine to be levied on the
                                                 8   defendant.”); Chambers v. NASCO, Inc., 501 U.S. 32, 45 (1991) (stating that a court
                                                 9   may award attorney's fees as part of the fine for civil contempt); Aloe Vera of Am., Inc.
                                                10   v. United States, 376 F.3d 960, 964-65 (9th Cir. 2004) (stating that a court may award
                                                11   attorney's fees as part of the fine for civil contempt); F. D. Rich Co., Inc. v. U.S. for
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                                                12   Use of Indus. Lumber Co., Inc., 417 U.S. 116, 129 (1974) (“We have long recognized
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                                                13   that attorneys' fees may be awarded to a successful party when his opponent has acted
                                                14   in bad faith, vexatiously, wantonly, or for oppressive reasons”); F.J. Hanshaw Enter.,
                                                15   Inc. v. Emerald River Dev., Inc., 244 F.3d 1128, 1136 (9th Cir. 2001) (same).
                                                16         Here, the Court should hold Vasquez’s counsel in contempt for Vasquez’s
                                                17   counsel’s violation of this Court's Order regarding use of the contact information and
                                                18   its Approved Text Notice.
                                                19                2.     This Court Should Enter an Order Dismissing the Entire Action as
                                                20                       to Anyone Other Than Vasquez
                                                21         In addition to holding Vasquez’s counsel in contempt of court, this Court should
                                                22   enter an order dismissing the entire FLSA action without prejudice as to anyone other
                                                23   than Vasquez. Courts have dismissed cases where there was disregard of the court’s
                                                24   orders and the discovery rules and where the disobedience has been willful or in bad
                                                25   faith. In dismissing claims as a sanction for violating a court order, the court should
                                                26   consider the following factors: “(1) the public’s interest in expeditious resolution of
                                                27   litigation; (2) the court’s need to manage its docket; (3) the risk of prejudice to the
                                                28   defendants; (4) the public policy favoring disposition of cases on their merits; and (5)
                                                                                                12
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                                                 1         the availability of less drastic sanctions.” Toth v. Trans World Airlines, Inc., 862
                                                 2   F.2d 1381, 1385 (9th Cir. 1988) (quoting Thompson v. Housing Auth. of L.A., 782 F.2d
                                                 3   829, 831 (9th Cir. 1986)).
                                                 4         Here, no person other than Vasquez should be allowed to maintain claims
                                                 5   against DKMC in this instant Action. DKMC will suffer prejudice in having to
                                                 6   defend against not only Vasquez’s claims, but the claims of other individuals – many
                                                 7   of whom may not have individually sued DKMC absent Vasquez’s counsel’s
                                                 8   improper solicitation. Moreover, no less drastic measure exists, as Vasquez’s
                                                 9   counsel has already violated the Court’s Order regulating distribution of the
                                                10   Approved Text Notice to loan officers. Accordingly, this Court should enter an order
                                                11   dismissing any plaintiffs other than Vasquez. See, e.g., Toth, 862 F.2d at 1385
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                                                12   (“Dismissal of this action was based on appellants’ continued refusal to respond to
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                                                13   requests to produce; they continued to refuse even after the court had ordered their
                                                14   responses ... The district court considered, and indeed instigated, less drastic
                                                15   sanctions, but to no avail. While the public policy favoring disposition on the merits
                                                16   weighs against dismissal, it is not enough to preclude a dismissal order when the
                                                17   other four factors weigh as heavily in favor of dismissal as they do in this
                                                18   case.”); TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d 915, 916 (9th Cir. 1987)
                                                19   (“Appellant claims that the district court abused its discretion in striking his answer
                                                20   and entering a default judgment against him. We disagree. Courts have inherent
                                                21   equitable powers to dismiss actions or enter default judgments for failure to
                                                22   prosecute, contempt of court, or abusive litigation practices.”)
                                                23                3.     The Court Should Enjoin Vasquez’s Counsel From Further
                                                24                       Unauthorized Contact With Putative Class Members
                                                25         This Court is empowered, within the standard set forth in Gulf Oil, to prevent
                                                26   any further misleading and abusive contact between Vasquez’s counsel and putative
                                                27   class members. “Courts have limited pre-certification communications with potential
                                                28   class members after misleading, coercive, or improper communications were
                                                                                                13
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                                                 1   made.” Mevorah, 2005 U.S. Dist. LEXIS 28615 at *11; Gulf Oil, 452 U.S. at 101
                                                 2   (Upon “a clear record and specific findings that reflect a weighing of the need for a
                                                 3   limitation and the potential interference with the rights of the parties,” this Court has
                                                 4   the power to issue an Order restricting Plaintiffs' communications with putative class
                                                 5   members).3 Given that there is a clear record of Vasquez’s counsel’s abusive contact
                                                 6   with putative class members, an Order enjoining further contact without prior Court
                                                 7   approval is appropriate. As indicated above, DKMC has been harmed and prejudiced
                                                 8   by the Unapproved Solicitation because at least ten of the Opt-In consent forms were
                                                 9   either received or postmarked to Plaintiff’s counsel after the Unapproved Solicitation
                                                10   was sent.
                                                11            C.    DKMC Is Entitled To Its Fees Incurred In Bringing This Motion
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                                                12            In addition to any orders entered against Vasquez’s counsel for violation of the
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                                                13   Court’s previous Order, “the court must order the disobedient part, the attorney
                                                14   advising that party, or both to pay the reasonable expenses, including attorneys’ fees,
                                                15   caused by the failure, unless the failure was substantially justified or other
                                                16   circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C); see
                                                17

                                                18   3
                                                       “Rule 23 contemplates that putative class members will make an informed decision
                                                19   about their decision to opt out of a class.” McKesson HBOC, 126 F. Supp. 2d at 1243.
                                                     Here, the Unapproved Solicitation is attempting to subvert what should be a fair
                                                20   process by using deceptive and misleading information in a bid to secure an attorney-
                                                21   client relationship. Such misleading communications are improper. See, e.g., In re
                                                     Community Bank of Northern Virginia, 418 F.3d 277, 310 (3d Cir. 2005) (“Because
                                                22   the advantage of class action litigation comes at the cost of binding absent class
                                                23   members through the res judicata effect of litigation over which they lack control, the
                                                     district courts must closely monitor the notice process and take steps to safeguard
                                                24   class members from ‘unauthorized [and] misleading communications from the
                                                25   parties or their counsel.’) (emphasis added); Bayshore Ford Truck v. Ford Motor Co.,
                                                     2009 WL 3817930, *10 (D.N.J. 2009) (“While Rule 23 deals with class members,
                                                26   courts have held that it also applies to contacts with putative class members, allowing
                                                27   courts to ‘issue Rule 23 orders to prevent abuses of the class action process.’ ”)
                                                     (citation omitted.)
                                                28

                                                                                                 14
                                                         DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION FOR CONTEMPT SANCTIONS AND
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                                                 1   also Hamm v. TBC Corp., 597 F. Supp. 2d 1338, 1353 (S.D. Fla. 2009) aff’d, 345 F.
                                                 2   App’x 406 (11th Cir. 2009) (ordering Plaintiffs to reimburse fees and costs for bringing
                                                 3   motion regarding abusive precertification contact with putative class members).
                                                 4         Here, Vasquez cannot show that his counsel’s misuses of the contact
                                                 5   information in violation of a Court order was “substantially justified” within the
                                                 6   meaning of Rule 37 of the Federal Rules of Civil Procedure. No reasonable person
                                                 7   would think that ignoring a Court order or violating the Rules of Professional Conduct
                                                 8   was justified. As such, the Court should sanction Vasquez’s counsel in the amount to
                                                 9   be set forth in DKMC’s Reply to Vasquez’s forthcoming Opposition, which will
                                                10   represent a portion of the attorneys’ fees that DKMC has incurred or will incur in
                                                11   bringing this Motion.
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                                                12   IV.   CONCLUSION
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                                                13         For all the foregoing reasons, DKMC respectfully requests that this Court grant
                                                14   its Motion and enter an order (1) holding Vasquez’s counsel in contempt of Court, (2)
                                                15   dismissing any plaintiffs other than Vasquez, (3) enjoin Vasquez’s counsel from
                                                16   further unauthorized contact with putative class members; and (4) awarding monetary
                                                17   sanctions against Vasquez’s counsel for a portion of the fees that DKMC has incurred
                                                18   or will incur in bringing this Motion.
                                                19

                                                20   Dated: June 30, 2022               Respectfully submitted,
                                                21                                      MCDERMOTT WILL & EMERY LLP
                                                22

                                                23                                      By:    /s/Christopher A. Braham
                                                                                               RON HOLLAND
                                                24                                             CHRISTOPHER A. BRAHAM
                                                                                               BRIAN CASILLAS
                                                25                                             Attorneys for Defendant
                                                                                               DRAPER AND KRAMER MORTGAGE
                                                26                                             CORP.

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                                                28

                                                                                               15
                                                     DEFENDANT’S MEMORANDUM IN SUPPORT OF MOTION FOR CONTEMPT SANCTIONS AND
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